Case 3:18-cV-00573-N Document 4 Filed 03/15/18 Page 1 of 1 Page|D 19

UNIT.ED STATES DlSTRICT COURT
NOR'I`HERN I`.BZSTRICT OI: 'I`EXAS
1100 COMMERCE STREE’I`
DAI.LAS, TEXAS 752-42

A. 505 FlsH

jUDL"¢E

Mareh 15, 2018

Ms. Karen Mitchell

Cierl< cf Court

United States Distriet Cc)urt
Northem Distriet r){" Texas

1 i()() Commeree Street
Dal!as, Texas 75242

Re: 3;18-(:\/'-0573-(}
john Amhony Castro VS.
Roy Andrew Berg, et al.

Dear Ms. Mitche§l:

I hereby recuse myself from the above styled and numbered Cause. Would you
see that it is assigned t() another ]udge per the usual procedure

Sineerelv,

aga/hi

A. ]OE F!Sl-i
Senior United States Distriet ]udge

A]F:lag

